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18
                                     UNITED STATES DISTRICT COURT
19                                 NORTHERN DISTRICT OF CALIFORNIA
20
       ANIBAL RODRIGUEZ, SAL CATALDO,                            Case No.: 3:20-cv-04688-RS
21     JULIAN SANTIAGO, and SUSAN LYNN
       HARVEY individually and on behalf of all                  DECLARATION OF SAL CATALDO IN
22     other similarly situated,                                 SUPPORT OF PLAINTIFFS’ MOTION
                                                                 FOR CLASS CERTIFICATION
23                       Plaintiffs,
        v.                                                       Judge: Hon. Richard Seeborg
24
                                                                 Courtroom 3 – 17th Floor
25     GOOGLE LLC,                                               Date: October 5, 2023
                                                                 Time: 1:30 p.m.
26                       Defendant.
27

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                     CATALDO DECLARATION ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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1                                       DECLARATION OF SAL CATALDO

2              I, Sal Cataldo, declare as follows.

3              1.       My name is Sal Cataldo. I am over eighteen years of age and am competent to

4     testify to and have personal knowledge of the facts set forth herein.

5              2.       I am a plaintiff in this lawsuit against Google, LLC (“Google”). Because I am very

6     privacy minded and continually explore the options to control whether and how my data is used, I

7     discovered Google’s Web & App Activity (“WAA”) and Supplemental Web & App Activity

8     (“sWAA”) privacy controls and used them to block Google from tracking me. Because Google is

9     one of the largest tech companies on the planet, I turned WAA and sWAA off so that it could not

10    collect, save, or use any of my Web & App Activity and supplemental Web & App Activity.

11             3.       I recall opening my main Google account in 2005, and years before this lawsuit was

12    filed, I had read Google’s Terms of Service, Privacy Policy, and other Google disclosures so that

13    I knew what data Google did and did not collect when WAA and sWAA were turned off. I agreed

14    to those terms. This included the Activity Controls screen, which included the WAA and sWAA

15    options that Google offered as ways to stop Google from collecting, saving, and using my Web &

16    App Activity and supplemental Web & App Activity when WAA and sWAA were turned off. All

17    of these documents and disclosures from Google reiterated that I was in control of what

18    information would and would not be shared with Google, and that when I turned off WAA and

19    sWAA that Google would not have any access to my Web & App Activity and supplemental Web

20    & App Activity.

21             4.       Although I had turned off WAA and sWAA and thought Google was not collecting,

22    storing, or using my Web & App Activity and supplemental Web & App Activity, I learned about

23    this lawsuit and I went back to check my WAA and sWAA settings and was surprised to learn that

24    even though I vividly recalled turning WAA and sWAA off, those settings had been re-enabled.

25    So I sought the advice of the attorneys in this case and decided to join the lawsuit to pursue Google

26    for the privacy violations that it was engaging in.

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1              5.       I joined this lawsuit with the understanding that the case has been brought as a class

2     action on behalf of two nationwide classes of individuals. The first nationwide class is:

3              Class 1: All individuals who, during the period beginning July 1, 2016 and continuing
               through the present (the “Class Period”), (a) had their “Web & App Activity” and/or
4              “supplemental Web & App Activity” setting turned off and (b) whose activity on a non-
               Google-branded mobile app was still transmitted to Google, from (c) a mobile device
5              running the Android operating system, because of the Firebase Software Development Kit
6              (“SDK”) and/or Google Mobile Ads (“GMA”) SDK
               6.       The second nationwide class is:
7
               Class 2: All individuals who, during the period beginning July 1, 2016 and continuing
8              through the present (the “Class Period”), (a) had their “Web & App Activity” and/or
               “supplemental Web & App Activity” setting turned off and (b) whose activity on a non-
9
               Google-branded mobile app was still transmitted to Google, from (c) a mobile device
10             running a non-Android operating system, because of the Firebase Software Development
               Kit (“SDK”) and/or Google Mobile Ads (“GMA”) SDK.
11
               7.       As a class representative, I understand that I have a duty to protect the interests of
12
      the classes. I will protect the best interests of the members of the classes and will work with my
13
      attorneys to obtain success on behalf of those classes.
14
               8.       I do not know of any facts that would limit my ability to adequately represent the
15
      interest of other members of the classes, or that my interests conflict in any way with the interests
16
      of the classes. I have not been promised any compensation for bringing this case and serving as a
17
      class representative.
18
               9.       I understand that I am a member of Class 1 because I turned off WAA and sWAA
19
      but Google still collected my Web & App Activity and supplemental Web & App Activity on non-
20
      Google-branded mobile apps from my Android mobile devices. Although I thought that Google
21
      would not collect, save, or use any Web & App Activity and supplemental Web & App Activity
22
      when I had turned off WAA and sWAA, I now know that Google still collects, saves, and uses my
23
      Web & App Activity and supplemental Web & App Activity without my consent.
24
               10.      I have been and continue to be willing to do what is necessary to protect the interests
25
      of the members of the classes. I have retained lawyers who have extensive experience in class
26
      action litigation. I have discussed this case with my lawyers on numerous occasions, and reviewed
27

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1     pleadings before they were filed. I provided deposition testimony for this case on February 17,

2     2022, and have responded to numerous written discovery requests from Google. I also allowed

3     Google to pull information from my account that is sensitive and confidential to me, like my

4     Google subscriber information. I also helped gather information from my device (with the help of

5     my lawyers and experts) to submit to Google to help understand how Google’s tracking works.

6              11.      I am familiar with the claims that have been asserted in the case and have remained

7     apprised of the Court’s orders and the strategy employed in this litigation. I am committed to

8     staying up to date on any additional developments in this case by continuing to confer with my

9     attorneys on a regular basis.

10             12.      I am aware that there are expenses involved in representing classes, and have

11    arranged with my attorneys that the expenses will be paid by my attorneys and that they will seek

12    reimbursement of these expenses if a recovery is obtained.

13             13.      I will appear at trial for this case.

14    I declare under penalty of perjury under the laws of the United States of America that the foregoing is

15    true and correct. Executed this 20th day of July, 2023, at Sayville, New York.

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                 CATALDO DECLARATION ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
